              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                      KEVIN ALEJANDRO JIMENEZ,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-0833


                              August 21, 2024

Appeal from the Circuit Court for Sarasota County; Dana Moss, Judge.

Howard L. Dimmig, II, Public Defender, and Tim Bower Rodriguez,
Special Assistant Public Defender, Tampa, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Krystle Celine Cacci,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
